                                                                                                 Case 2:18-cv-00637-EJF Document 1 Filed 08/14/18 Page 1 of 1
JS 44 (Rev. 12/12)                                                                                                                                                                                         CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (Slil"' JNS11WC'110NS ON Nt:X'l' PAGE OF Tll!S FORM.)
I. (a) PLAINTIFFS                                                                                                                                                                                                                                                                           DEFENDANTS
 Spencer Kelley and Shannon Kelly, individually and on behalf of their                                                                                                                                                                                                                    Nintendo of America, a Washington corporation, The Kroger Co., an
 minor children, BK, CK, and KK,                                                                                                                                                                                                                                                          Ohio corporation, and Does 1-10

          (b) County ofResidence of First Listed Plaintiff                                                                                                                       Utah CoYD.ty____                                                                                           County of Residence of First Listed Defendant
                                                                                         (1!.'XCEP7' IN U.S. PLAINTIFF CASHS)                                                                                                                                                                                      (IN U.S. PLAIN11FFCASKS' ONLY}
                                                                                                                                                                                                                                                                                            NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                                                                                                                                                                                       THE TRACT OF LAND INVOLVED.

   (c) Attorneys (Firm Name, Address, and Telephone N11111her)                                                                                                                                                                                                                              Attorneys (I/Known)
 Thomas W. Seiler/Jared L. Anderson/ Perris E. Nelson                                                                                                                                                                                                                                     Tracy Fowler/Ben Welch, Snell & Wilmer L.L.P., 15 West South
 Robinson, Siler, Anderson & Fife, LC                                                                                                                                                                                                                                                     Temple, Suite 1200, Salt Lake City, UT 84101
 2500 North University Ave., Provo, UT 84604                                                                                                                                                                                                                                              T: (801) 257-1900

 II. BASIS OF JlJRIS.DlCTlON (l'lacean "X"inOneBoxOnty)                                                                                                                                                                                                         Ill. CITIZENSHIP OF PRINCIPAL PARTIES (Place an                                                       "X" i110neBoxforPta1nt(ff
                                                                                                                                                                                                                                                                                    (For D/versi(Y Cases 011/y)                                               and One Boxjor D4imdanl}
 0 I                 U.S. Government                                                                     0 3 Federnl Question                                                                                                                                                                                 PTF             DEF                                             PTF     DEi"
                        Plaintiff                                                                              (U.S. Govemment Not a Part;~                                                                                                                                   Citizen of' This State          I)( l            0     I   Incorporated or Principal Place       0 4 0 4
                                                                                                                                                                                                                                                                                                                                           of Business In This State

 CJ 2                U.S. Government                                                                    1'<I 4 Diversity                                                                                                                                                      Citizen of Another State              0 2        0     2   Incorporated and Principal Place          0   5     rg   s
                        Defendant                                                                                                 (Indicate Citizenship of Parties in Item III}                                                                                                                                                             of Business ln Another State

                                                                                                                                                                                                                                                                              Citizen or Subject of a               0 3        0     3   Foreign Nation                            0   6     0 6
                                                                                                                                                                                                                                                                                Forei n Count
 IV. NATURE OF                                                                SUIT(Pia<·ean "X"inOnel!orOn!v!
1,,,          ~"._               ~:.'   <,   :<.IJ;l,"~(R'r&: ·:_,~~-:.'W ~~-,                                                                                 : '-'"eUl-."1:"~<1@:.lli                                                                                                                                         .n                            .'. ~:
                                                                                                                                                                                                                                                                                                                                                                       'OTHER STA1'UI'Elf:, ,,· ..: I
 0         110 Insurnnce                                                                                         PERSONAL INJURY                                                                                 PERSONAL INJURY                                                  0    625 Drug Related Seizure          0 422 Appeal 28 USC 158                   0 375 False Claims Act
 0         120 Marine                                                                                0 3 I0 Airplane                                                                                 1'<I 365 Personal Injmy •                                                             of Property 21 USC 88 l       0 423 Withdrawal                          0 400 State Reapportionment
 0         130 Miller Act                                                                            0 315 Airplane Product                                                                                                     Product Liability                                 0    690 Other                               28 USC 157                          0 410 Antitrnst
 0         140 Negotiable Instrument                                                                                            Liability                                                             l1 367 Health Care/                                                                                                                                          [J 430 Banks and Banking
 0         ISO Recovery of'Overpayment                                                               0 320 Assault, Libel &                                                                                                   Phannnceutical                                                                                                       'l·~·           0 450 Commerce
                & Enforcement of Judgment                                                                                       Slander                                                                                       Personal Injury                                                                             0 820 Copyrights                         0 460 Deportation
 0         151 Medicare Act                                                                          0 330 Federal Employers'                                                                                                 Product Liability                                                                           0 830 Patent                             0 470 Racketeer Influenced and
 0         I52 Recovery of Defaulted                                                                                            Liability                                                              0 368 Asbestos Personal                                                                                            0 840 Trademark                                 Corrupt Organizations
                St11de11t Loans                                                                      0 340 Marine                                                                                                               Inju1y Product                                                                                                                     0 480 Consumer Credit
                (Excludes Veterans)                                                                   0 345 Marine Product                                                                                                      Liability                                                                                                                          0 490 CablelSat TV
 CJ        153 Rccove1y of Overpayment                                                                                           Liability                                                                   PERSONAL PROPERTY CJ                                                      710 Fair Labor Stnndards           0 861 HIA (l 395ff)                      [J 850 Securities/Commodities/
                of Veteran's Benefits                                                                 0 350 Motor Vehicle                                                                              0 370 Other Frnnd                                                                   /\ct                           0 862 Black Lung (923)                           Exchange
 0         ICiO Stockholders' Suits                                                                   0 355 Motor Vehicle                                                                              0 371 Truth in Lending                                                     0    720 Labor/Management               0 863 D!WC/DIWW (405(g))                 0 890 Other Statutory Actions
 0         190 Other Contract                                                                                                 Product Liability                                                        0 380 Other Personal                                                                Relations                      0 864 SSID Title XVI                     0 891 Agricultural Acts
 0         195 Contract Product Liability                                                             0 360 Other Personal                                                                                                    Prope1iy Damage                                     0    740 Railway Labor Act              0 865 RSI (40S(g))                       0 893 Environmental Matters
 O         196 Franchise                                                                                                      Injury                                                                   0 385 Property Dmnage                                                      0    751 Family and Medical                                                      0 895 Freedom oflnformation
                                                                                                      0 362 Personal Injury·                                                                                                  Product Liability                                            Leave Act                                                                       Act
                                                                                                                              Medical Malpractice                                                                                                                                 0    790 Other Labor Litigation                                                  [J 896 Arbitration
1"':',...·-,...:,,...,":::R:::.E:"!A''~l,...,\ll:::.R:~'@:::,
                                      ,                     'J.~~E~~ru~m:::.\¥~      .wMcctj,...Y,...';;,...:i::::iji:::.iN':::ll"!:J,...ii'.R:':'l:::.<:l::1,l:I:-:: .:::·:'l"za,....t,...t:,-::-r,,f',...:'JP:ti.i,-.,,,.~,·.:;:NE=R;:"':::P::;;E:::T::;;ITI=o:-:N-.;S:'.".,-1. IJ
                                                                             . "":.. -:-:                                                                !.PSI:::                                                                                                                      791 Employee Retirement           '·'''i:(REDNRA'I'i'.J'A'.:XifSl1iffi"" mw CJ 899 Administrative Procedure
  0       210 Land Condemnation                                                                       0  440 Other Civil Rights                                                              Habeas Corims:                                                                                Income Security Act            0 870 Taxes (U.S. Plaintiff                     Act/Review or Appeal of
  0       220 Foreclosure                                                                             0  441 Voting                                                                       0 463 Alien Detainee                                                                                                                      or DefondantJ                         /\gency Decision
  0       230 Rent Lease & Ejectment                                                                  0  442 Employment                                                                   0 510 Motions to Vacate                                                                                                         0 871 IRS-Third Party                    0 950 Constitutionality of
  0       240 Torts to Land                                                                           0  443 Housing/                                                                            Sentence                                                                                                                           26 use 7609                           State Statutes
  0       245 Tort Product Liability                                                                         Accommodations                                                               0 530 General
  0       290 All Other Real Prope1iy                                                                 IJ 445 Amer. w/Disabilitics -                                                       IJ 535 Death Penalty                                                                !';'.:;y\'.;iiO:;JMMIGR'A"FlON~°CC
                                                                                                             Employment                                                                      Other:                                                                            0 462 Naturalization Application
                                                                                                      0 446 Amer. w/Disabilities •                                                        0 540 Mandamus & Other                                                               0 465 Other Immigration
                                                                                                             Other                                                                        0 550 Civil Rights                                                                         Actions
                                                                                                      0 448 Education                                                                     Cl 555 Prison Condition
                                                                                                                                                                                          0 560 Civil Detainee •
                                                                                                                                                                                                 Conditions of
                                                                                                                                                                                                 Confinement
  V. ORIGIN                                            (i'lace an "X" In One /iox Only)
 0 I Original                                                          ~2                Removed from                                                         0           3            Remanded from                                                         0 4 Reinstated or                        0 5 Transferred from               0 6 Multidistrict
                     Proceeding                                                          State Court                                                                                   Appellate Cout1                                                           Reopened                                 Another District                   Litigation
                                                                                                                                                                                                                                                                                                             ('pec(fy)
                      Cite the U.S. Civil Statute under which you are filing (Do not cite,i11rlsdictlo1111/ st11t11tes 1111/ess diversity):
  VI. CAUSE OF ACTION 28 U.S.C.         1332, 1441, and 1446 b 3
                      Brief description of cause:
                      Plaintiffs are claiming personal injuries caused by an allegedly defective gaming console.
  VII. REQUESTED IN   0 CHECK IF THIS IS A CLASS ACTION                      DEMAND$                                             CHECK YES only if demanded in complaint:
       COMPLAINT:          UNDER RULE 23, P.R.Cv.P.                            $300,000 or more                                 ,JURY DEMAND:        ~ Yes      0 No
  Vlll. RELATED CASE(S)
                                                                                                                            (...\'ee     instrucriom~:
                           IF ANY                                                                                                                                                         JUDGE                                                                                                                              DOCKET NUMBER
   DATE                                                                                                                                                                                            SIGNATURE OF ATTORNEY OF RECORD
 August 14, 2018                                                                                                                                                                               Isl Ben T. Welch
   FOR OFFICE USE ONLY
                                                                                                                                                                                                                                                                                                       Case: 2: 18-cv-00637
           RECEIPT#                                                                         AMOUNT                                                                                                             APPL YING IFP
                                                                                                                                                                                                                                                                                                       Assigned To : Furse, Evelyn J.
                                                                                                                                                                                                                                                                                                       Assign. Date : 8/14/2018
                                                                                                                                                                                                                                                                                                       Description: Kelley et al v. Nintendo of
                                                                                                                                                                                                                                                                                                       America et al
